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                                                                                  MAY 9, 2023
                                                                                       AF




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
United States of America,                                   CASE NUMBER

                                               PLAINTIFF,                  2 :2 3- cr-00169-MEMF- l
                            v.
Michael Barzman                                                 NOTICE OF DEFENDANT'S FAILURE
                                                                TO SATISFY CONDITION(S) OF BOND;
                                                                        ORDER THEREON
                                           DEFENDANT(S).

To: Courtroom Deputy Clerk to District Judge/ Magistrate Judge -�--=---,------------
                                                               Sagar
Defendant Michael Barzman                       was:
          � released from custody
          D not released from custody
                □
            ordered held to answer to the ------- District of ------- on or before

and was ordered to satisfy condition(s) of the bond on or before 5/1/2023                       . To date,
however, the condition(s) listed below have not been satisfied and the bond has therefore not been posted.
    D The following document(s) have not been received:
           D Form CR-03 Affidavit of Surety(ies) (Property)             D Recorded Deed of Trust
              [Justification]                                           � Form CR-37 Declaration re: Passport
           D Form CR-04 Affidavit of Surety (No Justification)            and Other Travel Documents
           D Lot Book Report confirming title                           D Passport Receipt from PSA
           D Property Appraisal or Tax Assessment
      D Equity of property is not sufficient to cover the bail amount
      D Outstanding warrants have not been cleared
      D Cash $
               _______ has not been posted
      � Other: Declaration of no Fire arms.


                                                     Clerk, U.S. District Court
5/2/2023                                             By J.Banegas
Date                                                    Deputy Clerk

                       ORDER OF THE DISTRICT JUDGE/ MAGISTRATE JUDGE
IT IS THEREFORE HEREBY ORDERED THAT:
     D The Clerk shall issue a bench warrant.
     x The Clerk shall contact counsel and arrange a status conference as soon as possible.
     D
     D The Clerk shall issue a Final Commitment and Warrant of Removal.
     x Other: Declaration re firearms was e-filed on 04/29/23 (see docket no. 15)
     D
 May 9, 2023                                                        / s / Alka Sagar
Date                                                  Honorable Alka Sagar
                                                      United StatesMagistrate Judge
CR-80 (11/18)          NOTICE OF DEFENDANT'S FAILURE TO SATISFY CONDITION(S) OF BOND; ORDER THEREON
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